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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 ADVANCEMENT PROJECT,

                        Plaintiff,

                v.
                                                    Civil Action No. 19-0052 (RC)
 U.S. DEPARTMENT OF HOMELAND
 SECURITY, et al.,

                        Defendants.

                     NOTICE OF WITHDRAWAL OF COUNSEL

       To the Clerk of Court and all parties of record:

       Pursuant to LCvR 83.6(b), please withdraw the appearance of Daniel S. Blynn as counsel

for Plaintiff Advancement Project. The other undersigned attorneys who have appeared on behalf

of Advancement Project will continue to represent it in this matter.


                                                   Respectfully submitted,


 Dated: January 27, 2021                           /s/ Daniel S. Blynn
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                                                   /s/ Losmin Jimenez
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                                                    LJimenez@advancementproject.org

                                                    Counsel for Plaintiff



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of January, 2021, a copy of the foregoing was served

via the Court’s electronic filing system (ECF) on the following:

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